USCA Case #22-3039              Document #2068205          Filed: 08/05/2024        Page 1 of 3

                     Supreme Court of the United States
                            Office of the Clerk
                        Washington, DC 20543-0001

                                                                         Scott S. Harris
                                                                         Clerk of the Court
                                                                         (202) 479-3011

                                        August 5, 2024

Clerk
United States Court of Appeals
  for the District of Columbia Circuit
E. Barrett Prettyman U. S. Courthouse
333 Constitution Ave., NW, Room 5205
Washington, DC 20001-2866

        Re: Edward J. Lang
            v. United States
            No. 23-32 (Your docket No. 22-3039)

Dear Clerk:

        Attached please find a certified copy of the judgment of this Court in the above-entitled
case.

                                                          Sincerely,

                                                          SCOTT S. HARRIS, Clerk

                                                          By



                                                          M. Altner
                                                          Assistant Clerk – Judgments

Enc.
cc:     All counsel of record
USCA Case #22-3039         Document #2068205              Filed: 08/05/2024       Page 2 of 3

                    Supreme Court of the United States
                           Office of the Clerk
                       Washington, DC 20543-0001
                                                                     Scott S. Harris
                                                                     Clerk of the Court
                                                                     (202) 479-3011


                                       August 5, 2024


 Mr. Norman A. Pattis, Esq.
 Pattis and Associates, LLC
 383 Orange St., First Floor
 New Haven, CT 06511

 Mrs. Elizabeth B. Prelogar, Esq.
 Solicitor General
 United States Department of Justice
 950 Pennsylvania Avenue, N.W.
 Washington, D.C. 20530-0001


       Re: Edward J. Lang
           v. United States
           No. 23-32


Dear Counsel:

       Today, a certified copy of the judgment of this Court in the above-entitled case was emailed
to the Clerk of the United States Court of Appeals for the District of Columbia Circuit.



                                                    Sincerely,

                                                    SCOTT S. HARRIS, Clerk

                                                     By



                                                     M. Altner
                                                     Assistant Clerk- Judgments




cc: Clerk, D.C. Cir.
       (Your docket No. 22-3039)
USCA Case #22-3039          Document #2068205              Filed: 08/05/2024      Page 3 of 3

                     Supreme Court of the United States

                                         No. 23–32


                                 EDWARD JACOB LANG,

                                                                     Petitioner
                                              v.

                                     UNITED STATES


              ON PETITION FOR WRIT OF CERTIORARI to the United States Court

of Appeals for the District of Columbia Circuit.

              THIS CAUSE having been submitted on the petition for writ of certiorari

and the response thereto.

              ON CONSIDERATION WHEREOF, it is ordered and adjudged by this

Court that the petition for writ of certiorari is granted. The judgment of the above court is

vacated, and the case is remanded to the United States Court of Appeals for the District of

Columbia Circuit for further consideration in light of Fischer v. United States, 603 U. S.

___ (2024).


                                         July 2, 2024
